Case: 1:24-cv-07252 Document #: 1-1 Filed: 05/15/24 Page 1 of 21 PageID #:5




                    EXHIBIT A
 Case: 1:24-cv-07252 Document #: 1-1 Filed: 05/15/24 Page 2 of 21 PageID #:6
                                                                        CT Corporation
                                                         Service of Process Notification
                                                                                                                 04/18/2024
                                                                                                    CT Log Number 546233335


Service of Process Transmittal Summary

TO:       Maria Bustamante, Paralegal-Litigation
          United Airlines, Inc.
          609 MAIN STREET, 16TH FLOOR/HSCPZ
          HOUSTON, TX 77002-3167

RE:       Process Served in New Jersey

FOR:      United Airlines, Inc. (Domestic State: DE)


ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                        Re: AARON DOMINICK OLDHAM // To: United Airlines, Inc.

CASE #:                                 ESXL00260024

NATURE OF ACTION:                       Personal Injury - Failure to Maintain Premises in a Safe Condition

PROCESS SERVED ON:                      C T Corporation System, West Trenton, NJ

DATE/METHOD OF SERVICE:                 By Process Server on 04/18/2024 at 14:20

JURISDICTION SERVED:                    New Jersey

ACTION ITEMS:                           CT will retain the current log

                                        Image SOP

                                        Email Notification, Tom Campuzano thomas.d.campuzano@united.com

                                        Email Notification, Maria Bustamante maria.bustamante@united.com

REGISTERED AGENT CONTACT:               C T Corporation System
                                        820 Bear Tavern Road
                                        West Trenton, NJ 08628
                                        866-401-8252
                                        LargeCorporationTeam@wolterskluwer.com



The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the
included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT
disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
contained therein.




                                                                                                                      Page 1 of 1
                 Case: 1:24-cv-07252 Document #: 1-1 Filed: 05/15/24 Page 3 of 21 PageID #:7


                                                                               Wolters Kluwer

                                 PROCESS SERVER DELIVERY DETAILS


Date:                                              Thu, Apr 18, 2024
Server Name:                                       Drop Service




 Entity Served                      United Airlines INC.,

 Case Number                        E5XL00260024
 J urisdiction                      NJ



                                                        Inserts
         Case: 1:24-cv-07252 Document #: 1-1 Filed: 05/15/24 Page 4 of 21 PageID #:8
           ESX-L-002600-24 04/15/2024 4:32:28 PM Pg 1 of 1 Trans ID: LCV2024965802


JAROSLAWICZ estJAR0814..LC`
 225 Broadway;24th Floor
 New York Nevv:York-I0007
(212)227;2780
 Elizabeth Elender„Esq.(Attorney no.0:21741902)
 Attortit,sforPlaintiff
                                                            -x
 AARON-DOMINICK OLDHAM,                                           SUPERIOR COURT
                                               Plaintiff;         OF NEWJERSEY
                          -against-                               LAW DIVISION
                                                                  ESSELI.0couNry
                                                                  DOCKET NO.: L-002600-24
if\l'aiMVA11017N,jEgkallk

                                               Defendant              CIVIL ACTION
                                                             x.       SUM.MONS
 From The State ON*Jersey To Defendant Named Above:

 The plaintiff; named above, has filed a lawsuit against you in the Superior Cotirt of Now Jersey: The
 complaint attached to this summons states the basis far this lawsuit If you dispute this complaint, you
 or your attorney must file a written answer or motion and proof Of service with the deputy clerk ofthe
 Superior Court in the county listed above within 35 days from the date you received this summons,not
 counting the date you received it:(A directory of the addresses of each deputy clerk of the Superior
 Court is available, in the Civil Division Management Office in the: county listed above and online at
 http://WwW.njcOurts.gov.)lithe complaint is.one in foreclosure, then you Must file your Written ansWer
 or motion and proof of service with the Clerk of the Superior Court, Hughes Justice Complex, P.O.
 13Ox 971, Trenton, NJ 08625-0971. A filing fee payable to the Treasurer, State of New Jersey and a
'completed Case Information Statement (available from. the deputy clerk of the Superior Court) must
 accompany your answer or motion when it is filed. You. must also, send a copy of Your: answer or
 motion-to plaintiffs attorney Whale name and address appear above, Or to plaintiff, if no attorney is
 named above. A telephone call will not protect your rights,• you must,file and serve a written answer or
 motion(with fee of $115.00-and completed Case Information Statement)if you want the court to hear
 your defense. If you do not file and serve a written answer or motion within 35 days, the court may
 enter ajudgment against you for the relief plaintiff demands, plus,interestand costs ofsuit. Ifjudgment'
 it entered against you, the Sheriff may seize..your money, wages or property to pay all or part of the
 judgment. Ifyou cannot afford an attorney, you may call the Legal Services office in the county where
  you live or the- Legal Services of New Jersey Statewide Hotline at 1.-888-LSN.14,AW
(1-888-576-5529). If you do not have an attorney and.are not eligible for free legal assistance,you may
 obtain' a referral to attorney by calling one ofthe Lawyer ReferratServites. A directory with contact
  information for local Legal Services Offices. and Lawyer Referral Services is available in the. Civil
 Division Management Office in the county fitted aboi and online at ttp //> rwnjcourts.gov..


                                                     Ivfichel e M.Smith
                                                     Clerk ofthe Superior Court
 DATED:           April 15,2024

 Name/address ofDefendant to Be Served:

 United Airlines,Inc.
 233 Sotith Wacker Drive, Chicago,IL 60606 and
 c/olle Corporation Trust Company 820 Bear Tavern Road, West Trenton, NJ 08628
    Case: 1:24-cv-07252 Document #: 1-1 Filed: 05/15/24 Page 5 of 21 PageID #:9
       ESX-L-002600-24 04/15/2024 3:50:47 PM Pg 1 of 7 Trans ID: L0V2024964587




JAROSLAWICZ &JAROS PLLC
 225 Broadway,24th Floor
 New York, New York 10007
(212) 227-2780
 Elizabeth Eilender, Esq.(Attorney no.021741992)
 Attorneys for Plaintiff
                                                    X      SUPERIOR COURT OF NEW JERSEY
 AARON DOMINICK OLDHAM,                                    LAW DIVISION: ESSEX COUNTY

                          Plaintiff,                       DOCKET NO.:

             -against-                                     Civil Action

 UNITED AIRLINES INC.                                      COMPLAINT,JURY DEMAND,
                                                           DESIGNATION OF TRIAL COUNSEL
                          Defendant.                       and CERTIFICATION PURSUANT TO
                                                    X      R. 4:5-1(b)(2)

        Plaintiff, AARON DOMINICK OLDHAM as and for his Complaint against the

 defendant, alleges as follows:

                         ALLEGATIONS COMMON TO ALL COUNTS

        1.      At all times hereinafter mentioned the plaintiff is a citizen of McAlester,

 Oklahoma.

        2.      At all times hereinafter mentioned, defendant, UNITED AIRLINES, INC.

("UNITED") is a foreign corporation incorporated under the laws of the State of Delaware

 authorized to do business and doing business in Essex County in the State of New Jersey.

        3.      At all times hereinafter mentioned, UNITED is a common carrier engaged in the

 business of transporting passengers for hire by air and conducts its operations in and out of

 Newark Liberty International Airport("EWR")as its sell-described "New York area hub" which

 is located in Essex County.

        4.       United claims to be "One of New Jersey's Leading Private Employers" with over

 14,000 local employees. See, Exhibit A and United's website.(last visited 4/12/24).
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        5      United boasts that it has a "State-of-the-Art Terminal" with seventeen gates in

the new $2.7 Billion Terminal A as well as United Club locations in Terminals A and C which

are the "biggest" in the network with hundreds of seats, spa-like shower suites and barista-

staffed coffee shops,in EWR.See, Exhibit A and United's website.(last visited 4/12/24).

        6.      New Jersey's EWR is United's "Global Gateway for the Tri-State Area" with

 more than 400 daily flights to 150+ domestic and international destinations. See, Exhibit A and

 United's website.(last visited 4/12/24).

        7.      Plaintiff purchased an international airline ticket from defendant to travel from

Honolulu, Hawaii, USA(HNL)to Medellin, Colombia(MDE),Confirmation # EJQNZ7.

        8.      There were three legs to the voyage: HNL to Los Angeles, California, USA(LAX)

then LAX to Panama City, Panama(PTY)and finally from PTY to Medellin Colombia(MDE). A

copy of plaintiff's Itinerary is annexed as Exhibit B.

        9.      On February 4, 2024 ("DOT") plaintiff was a ticketed fare-paying passenger

lawfully aboard the leg of the international trip from HNL to LAX, Flight number: UA1169

("subject flight"). A copy of plaintiff's Boarding Pass is annexed as Exhibit C.

        10.     On or about the DOT, defendant United employed a flight crew about the subject

flight who were responsible for the safe and secure operation of its flights as well as the safety

 and well-being of its passengers.

        11.     On or about the DOI, the subject flight was conducted on an aircraft owned,

 leased, operated, staffed or otherwise controlled by defendant United.

        12.     On or about the DOT, defendant United was responsible for the training,

 management, supervision, and/or control of its flight crew aboard the subject flight, including

 but not limited to the crew's adherence to standard safety policies and protocol.




                                                 -2-
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       13.     On or about the DOT, while seated, aboard the subject aircraft, plaintiff was

injured as a result of an onboard incident.

       14.     Due to defendant's recklessness, carelessness and gross negligence, plaintiff was

caused to be injured when a flight attendant collided in the aisle with a passenger who had

stood up during the flight and was accessing the overhead luggage bin. Due to the collision

between the flight attendant and the other passenger, a heavy bag fell, unabated, onto plaintiff

who was asleep in an aisle seat. The bag struck plaintiff's head and neck whereupon plaintiff

immediately awoke and shouted out in extreme pain.

       15.     The flight crew brought plaintiff ice due to his complaints of intense headaches,

drowsiness,confusion and cli7ziness.

       16.     Because plaintiff's condition was spiraling downwards and plaintiff was

experiencing extreme nausea,the flight crew asked over the public address system if there was a

doctor on board. A female doctor came to plaintiff's aid and diagnosed him with a concussion.

Plaintiff was feeling very ill and his blood pressure was dangerously high especially for a healthy

and physically fit forty year-old.

       17.     This action is governed by the Convention for the Unification of Certain Rules for

International Carriage by Air done at Montreal on May 28,1999,("The Montreal Convention").

       18.     Plaintiff's travel itinerary pursuant to the contract of carriage which forms the

basis for this action was from the United States to Medellin, Colombia.(Exhibit B).

                              AS AND FOR A FIRST CAUSE OF ACTION

       19.     Defendant, by its agents, servants, representatives and/or employees, was

careless, reckless and negligent in failing to properly, adequately and safely secure the luggage in

the overhead bin; in failing to train the flight attendant; in having a flight attendant not watch

where they are moving so as to collide with a passenger; in having a flight attendant who was


                                                -3-
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not paying attention and was distracted; in permitting a passenger to stand up during food and

beverage service and access the overhead bin; in failing to assist the passenger who was

accessing the overhead bin during the flight so a bag would not fall out and crash onto the

plaintiff's head; in failing to see what there was to see; in causing and/or permitting a bag to

strike the plaintiff; in failing to prevent a bag from falling from the overhead bin onto plaintiff

who was sitting asleep in his seat at the time of contact with the bag;in failing to hire and retain

competent personnel and employees; in failing to properly and adequately supervise, monitor

and train personnel and employees; in failing to have proper and adequate policies and

procedures; the Incident and resulting injuries occurred through no fault of Plaintiff and instead,

occurred because of improper conduct by defendant's employee in colliding with a passenger in

the aisle and permitting and causing a heavy bag to fall onto plaintiff; and defendant was

otherwise reckless, careless and grossly negligent.

       20.     As a result of defendant's recklessness, carelessness and gross negligence, plaintiff

was caused to suffer severe and permanent personal injuries, including but not limited to a

traumatic brain injury; severe amount of hyperintense T2 signal in the periventricular white

matter confirmed on a head and brain MRI; diffuse hyperintense 12 foci throughout the

subcortical and periventricular white matter; traumatically induced demyelinating disease;

traumatically induced Multiple Sclerosis; brain inflammation; traumatically induced immune

system response to brain inflammation and attack on brain myelin; extreme pain in head, neck

and shoulders; intense headaches; unable to focus; double vision; blurry vision; floaters; unable

to visually and cognitively focus; partial loss of vision; fatigue; unable to remain awake for more

than 4 hours a day for two and a half months following the Incident; completely disabled from

his activities of daily living and employment in. solutions engineering; cognitive deficits;

significant and continuing memory loss; dizziness; unable to focus;loss of depth perception; loss


                                                -4-
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of short term memory; unable to concentrate; balance issues; night terrors; anxiety; depression;

fitful sleep; unable to attend to usual and customary duties and vocation including activities of

daily living such as getting dressed and personal hygiene; unable to engage in activities such as

running or jumping; requires extensive medical, cognitive and memory care and attention and

will require such care in the future; required to take heavy doses of steroids and other

medications to treat injuries sustained herein; extreme pain and suffering; emotional harm;

mental anguish and distress; required hospital Emergency Room treatment and numerous

radiological studies including CT scans and MRI's; vision tests; incurred and will continue to

incur medical expenses for hospital and doctors; to the extent any of plaintiff's conditions may

have been pre-existing, the Incident herein exacerbated and aggravated them; and plaintiff has

been otherwise damaged, all of which damages are permanent in nature and continuing into the

future.

          21.   As a result of the foregoing, defendant is liable to pay full, fair and reasonable

damages to plaintiff under the Montreal Convention.

          22.   Pursuant to Article 17(1) of the Montreal Convention, United "is liable for damage

sustained in case of. . . bodily injury of a passenger upon condition only that the accident which

caused the. . . injury took place on board the aircraft or in the course of any of the operations of

embarking or disembarking."

          23.   No negligence, wrongful act or omission by Plaintiff contributed in any way to

the injuries and/or damages that he sustained.

          24.   Pursuant to Article 21 of the Montreal Convention, defendant cannot meet its

burden of proving that its negligence did not cause or contribute to the accident, and to

plaintiff's resulting injuries.




                                                 -5-
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       25.       Pursuant to Article 21 of the Montreal Convention, defendant cannot meet its

burden of proving that plaintiff's injuries were caused solely by the acts of third parties who

were not its agents or contractors or otherwise performing an essential or necessary airline

function.

       26.       By reason of the foregoing, plaintiff is entitled to recover all of his damages from

the defendant.

                         AS AND FOR A SECOND CAUSE OF ACTION

       27.       Plaintiff repeats, reiterates and realleges each of the foregoing allegations with the

same force and effect as if more fully set forth at length herein.

       28.       Defendant was reckless, careless and negligence as set forth above.

       29.       As a result of defendant's negligence, plaintiff was caused to suffer severe and

permanent personal injuries as set forth above.

        30.      By reason of the foregoing, plaintiff is entitled to recover all of his damages under

common law.

        WHEREFORE,plaintiff requests that the court enter judgment in his favor as against

the defendant,in actual damages expected to exceed seventy-five thousand dollars ($75,000)

together with interest, costs of suit and such other relief this Court may deem just and proper.

                                           JURY DEMAND

        Plaintiff demands a trial by jury on all issues.

                                                    JAROSLAWICZ &JAROS PLLC
                                                    Attorneysfor the Plaintiff



                                                     Elizabeth Eilender,
                                                     OfCounsel
                                                     225 Broadway,24th floor



                                                   -6-
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                                                 New York, New York 10007
                                                (212)227-2780
                                                 EEilender@lawjaros.com
Dated: April 15, 2024

                DESIGNATION OF TRIAL COUNSEL PURSUANT TO R. 4:5-1(c)

              Elizabeth Eilender is hereby designated as trial counsel for plaintiff in accordance

with the R. 4:52-2.

                                                JAROSLAWICZ &JAROS PLLC
                                                Attorneysfor the Plaintiff




                                                 Elizabeth Eilender,
                                                 OfCounsel
                                                 225 Broadway, 24th floor
                                                  New York, New York 10007
                                                 (212)227-2780
                                                 EEllender@lawjaros.com

Dated: April 15, 2024

                        CERTIFICATION PURSUANT TO R.4:5-1(b)(2)

               The undersigned certifies, on information and belief, as follows:

       1.      The matter in controversy is not the subject of any other action.

       2.      There are no known parties who may be liable to any party on the basis of the

transaction or events which form the subject matter of this action that should be joined

pursuant to R. 4:28.

               I certify that the foregoing statements made by me are true. I am aware.that if

any of the foregoing statements made by me are willfully false, I may be subject to punishment.




Dated: April 15, 2024
                                             Elizabeth Eilender
                                             OfCounsel


                                               -7-
   Case: 1:24-cv-07252 Document #: 1-1 Filed: 05/15/24 Page 12 of 21 PageID #:16
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U nited's information page about its Newark/New
York(EWR) hub
  united.com/en/aw/newsroom/hub-airports/ewr.html


Newark Liberty International Airport

One of New Jersey's Leading Private Employers
14,000+ local employees


State-of-the-Art Terminal
17 Gates in the new $2.7 billion Terminal A


Game Day
Official airline of the New York Giants and the TCS New York City marathon, the largest
marathon in the world


Spacious United Club Locations
U nited Club locations in Terminals A and C are among the biggest in the network, with views
of the Manhattan skyline, hundreds of seats, spa-like shower suites and barista-staffed
coffee shops


Giving Back to the Community
Nearly $3 million contributed to local non-profits, partners and organizations


Global Gateway for Tri-State Area
400+ daily flights to 150+ domestic and international destinations

Updated Nov. 2023




                               Exhibit A
   Case: 1:24-cv-07252 Document #: 1-1 Filed: 05/15/24 Page 13 of 21 PageID #:17
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For media inquiries, please contact us at:
media.relations@united.com
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De:United Allies, Inc. <unitedairfoies@triited.corn>
  voye:9janvier 2024 2122
A:Dumais_karine@holniail.com Dm                e@homaLaaTP
Objet:Your United reservation for Medellin, CO(M)E)is processing




  Add UnitedAirineseenews.unded_com to your address book See insinufmns„




                                                                    Tuesday,09 January, 2024




                                                       Exhibit B
        Case: 1:24-cv-07252 Document #: 1-1 Filed: 05/15/24 Page 15 of 21 PageID #:19
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Thank you for choosing United

                    Once we've firished processing your reservation, you'll receive a second entail containing your eTicket itinerary so that you can request additional receipts,
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                    ki rare cases it ccirAd take longer. It you don't receive an errcket Itinerary and Receipt email witlin 24 hours, please call the United Customer Contact Center




Confimiation number.




EJQNZ7
                                                                                                                                                         Honolulu, HI, US(HNL)
                                                                                                                                                         to Medellin, CO(MDE)



                                                                                                                                                              Manage reservation




Purchase summary
2 adults(18-64)                                                                                                                                                          CA $686.20


Taxes and tees                                                                                                                                                           CA $144.80



Total                                                                                                                                                                    CA $831.00


Craftcod portent CA 3831.012(Visa".0016)




Trip summary

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Travelers

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Aaron CIcham           NM.In LAX                                468




                       LAX to PTY




                       PTYlo MOE                                26B




REAL ID requiremem
          Case: 1:24-cv-07252 Document #: 1-1 Filed: 05/15/24 Page 17 of 21 PageID #:21
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 Do you have a REAL ID? Beginning May 7,2025, every air traveler 18 and older will need a state-issued REAL ID-crampiant license or identification card, or another acceptable
 form of ID (such as a passport), to fly wittin the United States. If you don't have a REAL ID, you'll need to use another acceptable form of identification, when flying within the
 U.S.




  Additional trip planning tools
      • Baggage Poicies: View.current baggage acceptance allowances.
      • Passport and Visa Information: International Travel Documentation requirements


  Carry-on baggage allowed
  United accepts the following items, per customer to be carried on the aircraft at no charge:

      • One carry-on bag no more than 45!near inches or 114 blear centimeters
      • One personal item (such as a shoulder or laptop bag)

  Due to FAA regulations, operating carriers may have different carry-on requirements. Please chedc with the operating carrier for more information or go to united.conibaggage.


  To determine the dierked baggage allowance and service charges for each traveler, please check your elided recekot sent to the email address you provided.




    united.com



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    Reservations



    Earn miles



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E-rnail Information
Please do not reply to this message using the "reply" address.
The information contained in this e..mail is intended for the original recipient only.

United MileagePlus
900 Grand Plaza Dr.
Houston. TX 77067 USA




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                                                     227K
    Case: 1:24-cv-07252 Document #: 1-1 Filed: 05/15/24 Page 19 of 21 PageID #:23
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                              Exhibit C
   Case: 1:24-cv-07252 Document #: 1-1 Filed: 05/15/24 Page 20 of 21 PageID #:24
         ESX-L-002600-24 04/15/2024 3:50:47 PM Pg 1 of 1                            Trans ID: L0V2024964587




                        Civil Case Information Statement
 Case Details: ESSEX I Civil Part Docket# L-002600-24

Case Caption: OLDHAM AARON VS UNITED AIRLINES,                   Case Type: PERSONAL INJURY
I NC.                                                            Document Type: Complaint with Jury Demand
Case Initiation Date: 04/15/2024                                 Jury Demand: YES -6 JURORS
Attorney Name: ELIZABETH EILENDER                                Is this a professional malpractice case? NO
Firm Name: JAROSLAWICZ & JAROS PLLC                              Related cases pending: NO
Address: 225 BROADWAY 24TH FL                                    If yes, list docket numbers:
NEW YORK NY, 100070000                                           Do you anticipate adding any parties (arising out of.same
Phone: 2122272780                                                transaction or occurrence)? NO
Name of Party: PLAINTIFF : Oldham, Aaron, D                      Does this case involve claims related to COVID-19? NO
Name of Defendant's Primary Insurance Company
(if known): Unknown                                              Are sexual abuse claims alleged by: Aaron D Oldham? NO



        THE INFORMATION PROVIDED ON THIS FORM CANNOT BE INTRODUCED INTO EVIDENCE
                      CASE CHARACTERISTICS FOR PURPOSES OF DETERMINING IF CASE IS APPROPRIATE FOR MEDIATION




 Do parties have a current, past, or recurrent relationship? NO
 If yes, is that relationship:

 Does the statute governing this case provide for payment of fees by the losing party? NO
 Use this space to alert the court to any special case characteristics that may warrant individual
 management or accelerated disposition:



 Do you or your client need any disability accommodations? NO
         If yes, please identify the requested accommodation:



 Will an interpreter be needed? NO
          If yes,for what language:


 Please check off each applicable category: Putative Class Action? NO Title 59? NO Consumer Fraud? NO
 Medical Debt Claim? NO




 I certify that confidential personal identifiers have been redacted from documents now submitted to the.
 court, and will be redacted from all documents submitted in the future in accordance with Rule 1:38-7(b)

 04/15/2024                                                                                     /s/ ELIZABETH EILENDER
 Dated                                                                                                           Signed
       Case: 1:24-cv-07252 Document #: 1-1 Filed: 05/15/24 Page 21 of 21 PageID #:25
           ESX-L-002600-24 04/16/2024 5:23:35 AM Pg 1 of 1 Trans ID: LCV2024967465

ESSEX COUNTY - CIVIL DIVISION
SUPERIOR COURT OF NJ
465 MARTIN LUTHER KING JR BLVD
NEWARK           NJ 07102
                                             TRACK ASSIGNMENT NOTICE
COURT TELEPHONE NO. (973) 776-9300
COURT HOURS 8:30 AM - 4:30 PM

                            DATE:   APRIL 15, 2024
                            RE:     OLDHAM AARON VS UNITED AIRLINES, INC .
                            DOCKET: ESX L -002600 24

      THE ABOVE CASE HAS BEEN ASSIGNED TO:   TRACK 2.

     DISCOVERY IS   300 DAYS AND RUNS FROM THE FIRST ANSWER OR 90 DAYS
FROM SERVICE ON THE FIRST DEFENDANT, WHICHEVER COMES FIRST.

      THE PRETRIAL JUDGE ASSIGNED IS:   HON ROBERT H. GARDNER

       IF YOU HAVE ANY QUESTIONS, CONTACT TEAM      001
AT:   (973) 776-9300 EXT 57110.

      IF YOU BELIEVE THAT THE TRACK IS INAPPROPRIATE YOU MUST FILE A
 CERTIFICATION OF GOOD CAUSE WITHIN 30 DAYS OF THE FILING OF YOUR PLEADING.
      PLAINTIFF MUST SERVE COPIES OF THIS FORM ON ALL OTHER PARTIES IN ACCORDANCE
WITH R.4:5A-2.
                            ATTENTION:
                                             ATT: ELIZABETH EILENDER
                                             JAROSLAWICZ & JAROS PLLC
                                             225 BROADWAY 24TH FL
                                             NEW YORK         NY 10007

ECOURTS
